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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Rhonda Henderson, et al.,

                                   Plaintiff(s),

v.                                                     Case No. 2:20−cv−12649−SFC−RSW
                                                       Hon. Sean F. Cox
Vision Property Management,
LLC, et al.,

                                   Defendant(s).




                                CLERK'S ENTRY OF DEFAULT

Party in Default: Alex Szkaradek

     The default of the party named above for failure to plead or otherwise defend is entered.



                                      Certificate of Service

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record herein by electronic means or first class U.S. mail.

                                                   DAVID J. WEAVER, CLERK OF COURT


                                               By: s/ S Osorio
                                                   Deputy Clerk

Dated: December 16, 2020
